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                            IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO



    ELIZABETH SINES et al.                                :      Case No. 3:17-cv-72

                     Plaintiffs                           :      Judge MOON
                                                                 Mag. Judge HOPPE

                                                          :
            -v-

    JASON KESSLER et al.                                  :

                                                          :
                     Defendants

    _______________________________________________________

                  DECLARATION OF JAMES E. KOLENICH
    _______________________________________________________

            Mr. James E. Kolenich, having been duly cautioned, declares and states as follows:

       1.         This declaration is based on personal knowledge.

       2.         I am one of the attorneys for defendant Vanguard America.

       3.         I provided a copy of the Court’s order to Show Cause (DE452) to Vanguard on
                  March 20, 2019.

       4.         I communicated with Vanguard by phone on March 20, 2019.

       5.         I have not received any further communication from Vanguard.

       6.         I have not received any information, as of April 3, 2019, indicating compliance
                  with pending Court orders or showing cause why compliance should be excused.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on April
       3, 2019.

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                                 _s/ James E. Kolenich___________________________
                                 James E. Kolenich




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